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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA


   KENNETH C. GRIFFIN,

                         Plaintiff,
                                                         Case No.: 1:22-cv-24023-KMW
                  -against-
                                                         CERTIFICATE OF SERVICE

   INTERNAL REVENUE SERVICE and U.S.
   DEPARTMENT OF THE TREASURY,

                         Defendants.


            I, ROBERT ANDON, hereby certify pursuant to 28 U.S.C. § 1746:

            1.    I am over the age of eighteen years and am not a party to the above-captioned

  action.

            2.    I am employed by the law firm of Quinn Emanuel Urquhart & Sullivan LLP,

  attorneys for Plaintiff Kenneth C. Griffin in the above-captioned action.

            3.    Pursuant to Federal Rule of Civil Procedure 4(i)(2) and 4(i)(1)(B)-(C), I effectuated

  service on Defendant Internal Revenue Service on January 5, 2023, by sending a copy of the

  Summons, Complaint, and Civil Cover Sheet by certified mail with return receipt requested to

  (i) the Internal Revenue Service at 950 Pennsylvania Avenue NW, Washington, D.C. 20530 on

  December 15, 2022; (ii) the Attorney General of the United States at 950 Pennsylvania Avenue

  NW, Washington, D.C. 20530 on December 15, 2022; and (iii) to the Civil-Process Clerk, U.S.

  Attorney’s Office for the Southern District of Florida, 99 N.E. Main Street, Miami, FL 33131 on

  January 5, 2023.1



            1
            I first sent a copy of the Summons, Complaint, and Civil Cover Sheet by certified mail
  with return receipt requested to the Civil-Process Clerk, U.S. Attorney’s Office for the Southern
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         4.      Pursuant to Federal Rule of Civil Procedure 4(i)(2) and 4(i)(1)(B)-(C), I effectuated

  service on Defendant U.S. Department of Treasury on January 5, 2023 by sending a copy of the

  Summons, Complaint, and Civil Cover Sheet by certified mail with return receipt requested to

  (i) the U.S. Department of Treasury at 1500 Pennsylvania Ave NW, Washington, D.C. 20220 on

  December 15, 2022; (ii) the Attorney General of the United States at 950 Pennsylvania Avenue

  NW, Washington, D.C. 20530 on December 15, 2022; and (iii) the Civil-Process Clerk, U.S.

  Attorney’s Office for the Southern District of Florida, 99 N.E. Main Street, Miami, FL 33131 on

  January 5, 2023.

         5.      Defendant Internal Revenue Service received the documents on December 20,

  2022, as evidenced by the United States Postal Service Tracking System. A copy of the certified

  mail receipt, tracking information from the United States Postal Service, and executed return

  receipt are attached as Exhibit 1.

         6.      Defendant U.S. Department of Treasury received the documents on December 20,

  2022, as evidenced by the United States Postal Service Tracking System. A copy of the certified

  mail receipt, tracking information from the United States Postal Service, and executed return

  receipt are attached as Exhibit 2.

         7.      The Attorney General of the United States received the documents on

  December 20, 2022, as evidenced by the United States Postal Service Tracking System. A copy

  of the certified mail receipt, tracking information from the United States Postal Service, and

  executed return receipt are attached as Exhibit 3.




  District of Florida, 99 N.E. Main Street, Miami, FL 33131 on December 15, 2022. A copy of the
  certified mail receipt and tracking information from the United States Postal Service are attached
  as Exhibit 5. I understand that this mail was lost, damaged, or destroyed.
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         8.      The Civil-Process Clerk, U.S. Attorney’s Office for the Southern District of Florida

  received the documents on January 10, 2023, as evidenced by the United States Postal Service

  Tracking System. A copy of the certified mail receipt, tracking information from the United States

  Postal Service, and executed return receipt are attached as Exhibit 4.

         9.      I hereby declare under the penalty of perjury that the forgoing statements are true

  and correct.



         Executed on this ___
                          13thday of January, 2023 in New York, New York.


                                                       _______________________________
                                                             Robert Andon
